Case 21-30589-MBK         Doc 2611-2 Filed 06/27/22 Entered 06/27/22 13:27:48                Desc
                                 Exhibit A-2 Page 1 of 4




                              COONEY & CONWAY, LLP
                                   120 N. LaSalle Street, 30th Floor
                                          Chicago, IL 60602

                                  Contract of Representation
                                 Asbestos Personal Injury Client


       We employ and retain the law firm of COONEY & CONWAY, LLP and designated co-
counsel to represent us as set forth herein.


1.     SCOPE OF REPRESENTATION

        COONEY & CONWAY, LLP agrees to investigate and evaluate our possible claim or
claims, against any asbestos manufacturer, distributor, wholesaler or others who may be liable for
personal injuries (if any) suffered by us as a result of exposure by _ _____________________ to
asbestos-related material.

       After the investigation of our claim, COONEY & CONWAY, LLP shall have the right
to withdraw and cancel this contract if it is unable or unwilling to undertake the contemplated
representation.

        We understand and agree that the scope of representation herein does not include the filing
of any claim for workers compensation coverage or other state or federal employee benefits, or
other legal matter, unless specifically described in a separate contract of representation.

        If our claim will include an attempt to recover damages based on the death of an
individual caused by asbestos exposure, we acknowledge that COONEY & CONWAY, LLP is
representing the estate of the deceased only for the purpose of pursuing the survival and wrongful
death claims.


2.     AUTHORITY OF COONEY & CONWAY, LLP

        We employ COONEY & CONWAY, LLP to take all steps in this matter deemed by
them to be advisable for the investigation and handling of our claim, including hiring
investigators, expert witnesses and/or other attorneys and filing any legal action necessary.
During the term of representation, COONEY & CONWAY, LLP is authorized and empowered
to vote on our behalf in any bankruptcy proceeding or class action relevant to the scope of this
representation.


                                            Page 1 of 4
Case 21-30589-MBK           Doc 2611-2 Filed 06/27/22 Entered 06/27/22 13:27:48                    Desc
                                   Exhibit A-2 Page 2 of 4




3.     ATTORNEY’S FEES

        It is understood and agreed that we are employing COONEY & CONWAY, LLP as set
forth herein, and that if no recovery is made, we will not owe COONEY & CONWAY, LLP for
any sums whatsoever as attorneys’ fees and costs.

        In consideration for legal advice and services rendered and to be rendered by
ATTORNEYS we now assign and transfer to COONEY & CONWAY, LLP thirty-three and 1/3
percent (33.3%) of any and all recovery, whether made by judgment or compromise prior to
judgment; or thirty-three and 1/3 percent (33.3%) of any amounts that may be recovered if the
cause is appealed.

        We understand that some of the portions of our case may be handled through mass tort
actions, court-approved settlements, administrative claims processing, or as a result of bankruptcy
proceedings, and that the attorneys’ fees to be paid to COONEY & CONWAY, LLP in those
situations may be as determined or awarded by order of the court or under the provisions of the
court-approved settlement or administrative process. The amount of attorneys’ fees permitted
under such group recovery varies in each instance, and COONEY & CONWAY, LLP agrees to
be bound by the amount of attorneys’ fee awarded by the court or through the administrative
claims procedure, but in no event shall attorneys’ fees exceed the agreed-upon thirty-three and 1/3
percent (33.3%).

         It is understood that all necessary expenses of investigation and prosecution of said claim
shall be deducted from the gross recovery after calculation of attorneys’ fees. Expenses include
airfare, transportation, court reporters, experts, witness fees, exhibits, outside investigators, court
filing, summons and subpoena costs, record production charges, video costs and literature search
charges. It is specifically understood that expenses for treatment by doctors or hospitals are an
expense of client and not attorneys.


4.     ASSOCIATE COUNSEL

        We specifically authorize COONEY & CONWAY, LLP to associate co-counsel if
COONEY & CONWAY, LLP believes it advisable or necessary for the proper handling of our
claim, and expressly authorize COONEY & CONWAY, LLP to divide any attorneys’ fees that
may eventually be earned with co-counsel so associated for the handling of our claim. We
understand that the amount of the attorneys’ fees which we pay will not be increased by the work
of co-counsel associated to assist with the handling of our claim, and that such other associated
co-counsel will be paid by COONEY & CONWAY, LLP out of the attorneys’ fees we pay to
COONEY & CONWAY, LLP.

                                              Page 2 of 4
Case 21-30589-MBK          Doc 2611-2 Filed 06/27/22 Entered 06/27/22 13:27:48                  Desc
                                  Exhibit A-2 Page 3 of 4




5.     MEDICARE AND OTHER HEALTH-CARE LIENS

        We understand that COONEY & CONWAY, LLP may hire separate experts to assist
with resolving any health-care providers' reimbursement claims, or liens for medical care related
to asbestos-related disease. The expense of any such service shall be treated as a case expense and
deducted from our net recovery and shall not be paid out of the law firm's contingent fee.


6.     SETTLEMENT DISCUSSIONS/GROUP SETTLEMENT

        We will have authority to accept or reject any final settlement amount after receiving the
advice of our attorneys. We understand that this suit may be handled as a part of a larger number
of cases, which may be aggregated for settlement and/or trial preparation. We authorize our
attorneys to enter into aggregate settlement negotiations, and to disclose the amount of our
proposed settlement, the nature of our damages, and other factors relevant to evaluation of
settlement values to other clients whose cases are included in the aggregate of cases. We also
understand that certain expenses will be incurred in a joint effort to handle all cases. We authorize
our attorneys to prorate expenses among all the cases in the settlement group.


7.     NO GUARANTEE OF RECOVERY

        We understand that no guarantee or assurances of any kind have been made regarding the
likelihood of success of our claim, but that our attorneys will use their experience in the field of
asbestos litigation to diligently pursue our action.


8.     CLIENT AUTHORIZATION

       Client hereby authorizes COONEY & CONWAY, LLP to execute his or her signature of
any legal document and/or legal tender necessary to facilitate or prosecute his or her claim.


9.     LOCATIONS OF LITIGATION

       It is specifically understood by the client that the selection of a forum for litigation of
these matters involves risks that change continually regarding the financial condition of perceived
responsible parties as well as changing laws within the United States. The client understands and
appreciates this changing risk. The client agrees that as a result of the selection of the litigation
forum that various defendants may not be pursuable under law.


                                             Page 3 of 4
Case 21-30589-MBK        Doc 2611-2 Filed 06/27/22 Entered 06/27/22 13:27:48    Desc
                                Exhibit A-2 Page 4 of 4




WE HAVE READ AND UNDERSTAND THIS CONTRACT AND AGREE AS STATED
ABOVE THIS ________________ DAY OF __________________________, 202__.



                                           ________________________________
                                           SIGNATURE

                                           _________________________________
                                           NAME (please print)

                                           _________________________________
                                           SIGNATURE (spouse)

                                           _________________________________
                                           NAME (spouse) (please print)

                                           _________________________________
                                           STREET ADDRESS

                                           _________________________________
                                           CITY        STATE       ZIP CODE

                                           _________________________________
                                           SOCIAL SECURITY NUMBER

                                           __________________________________
                                           SOCIAL SECURITY NUMBER (spouse)

                                           __________________________________
                                           TELEPHONE


The above employment is hereby accepted upon the terms stated herein:

COONEY & CONWAY, LLP

BY: ________________________                             Date:______________
         ATTORNEY



                                         Page 4 of 4
